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                                U NITED STATES DISTRICT C O URT
                                SO UTH ER N DISTRICT O F FLO RIDA

                            CASE NO .9:14-cv-80425-CO H N/SELTZER

    EVETT L.SIM M ONS,ESQUIRE,in
    hercapacity asGuardian ofthe Property
    ofDontrellStephens,and DONTRELL STEPHEN S,

                  Plaintiffs,
    V S.

    R1C BRA DSHA W ,in his capacity as
    SheriffofPalm Beach County,Florida,and
    DEPUTY SHERIFF ADA M S LIN ,individually,

                  Defendants.
                                               /

                                        FIN AL JU DG M ENT

           THISCAUSE havingcomebeforetheCourtfollowingajurytrialinthismatterwhereina
    juryreturnedaverdictinfavorofPlaintiffsonaIlremainingclaimsatissue,litishereby
           ORD ERED and AD JUDGED as follow s:

                  Judgm ent is entered for Plaintiffs as to Counts l and 111. Plaintiffs Evett L.

    Simm ons,Esquire,in hercapacity as Guardian ofthe Property ofD ontrellStephens,and Dontrell

    Stephens,shallrecover from the Defendants,Adam s Lin and Ric Bradshaw ,in his capacity as




    1Plaintiffs'operativepleading,theSecondAmendedComplai nt(DE 32,135),includedsixcountsagainst
    DefendantsAdams Lin (iiLin'')and Ric Bradshaw,in his capacity as SheriffofPalm Beach County
    (iisheriffBradshaw''):
                  1.     42U.S.C.j 1983ViolationofCivilRights(v.Lin)
                  lI.    42U.S.C.j 1983ViolationofCivilRights(v.SheriffBradshaw)
                  111.   Battery(v.SheriffBradshaw)
                  IV.    Battery(v.Lin)
                  V.     NegligentUseofFirearm (v.SheriffBradshaw)
                  Vl.    NegligentSupervision,Retention,andTraining(v.SheriffBradshaw)
    CountsIV and Vlweresubsequently withdrawn by Plaintiffs.
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    SheriffofPalm BeachCounty,jointlyand severally,theamountofTwenty--fwo M illion Four
    Hundred Thirty-one Thousand Eight H undred and N inety-Tw o Dollars and Five Cents

    ($22.431,892.05),pluspost-judgmentinterestatthèlegalrate,alongwithcosts,foraIlofwhich
    letexecution issue.

          2. JudgmentittpteredinfavoroftheDefendantSheriffBradshawandagainst
    PlaintiffsonCounts11andV '''l7ho C-îc!/L S/ltitlî (,Lo.
                             .                            :f % is c/-îd .
          Dox E and ORD ERED in FortLauderdale,Florida,thi   G dayofFebruary2016.
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                                          UN ITED STAT M G ISTRA T         U DG E


    Copiesfurnishedto:CounselofRecord (viaCM/ECF)




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